Case 2:09-cr-00116-SMJ   ECF No. 109   filed 09/28/10   PageID.315 Page 1 of 6
Case 2:09-cr-00116-SMJ   ECF No. 109   filed 09/28/10   PageID.316 Page 2 of 6
Case 2:09-cr-00116-SMJ   ECF No. 109   filed 09/28/10   PageID.317 Page 3 of 6
Case 2:09-cr-00116-SMJ   ECF No. 109   filed 09/28/10   PageID.318 Page 4 of 6
Case 2:09-cr-00116-SMJ   ECF No. 109   filed 09/28/10   PageID.319 Page 5 of 6
Case 2:09-cr-00116-SMJ   ECF No. 109   filed 09/28/10   PageID.320 Page 6 of 6
